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                                         Andrew T. Solomon
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July 12, 2019

Hon. Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Vinas v. MLJ Painting Corp., 1:19-cv-02921-AMD-RML

Dear Judge Donnelly:

This firm represents defendants MLJ Painting Corp. and Joseph Picataggi. We write to request a
pre-motion conference, pursuant to Rule 4(A)(i) of the Court’s Individual Practices and Rules, in
advance of a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6).

On June 14, 2019, we filed a letter with the Court identifying numerous deficiencies in Plaintiffs’
First Amended Complaint and requesting a pre-motion conference in advance of a motion to
dismiss that Complaint. ECF No. 8. Plaintiffs sought leave to amend. ECF No. 10. On July 5,
2019, Plaintiffs filed their Second Amended Complaint. ECF No. 11.

Plaintiffs’ Second Amended Complaint has not cured all the defects identified in our June 14,
2019 letter. We are prepared to file a motion to dismiss Claims One, Two, Five and Six of
Plaintiffs’ Second Amended Complaint. Therefore, we respectfully request a pre-motion
conference pursuant to the Court’s Individual Practices and Rules.

Respectfully yours,

/s/ Andrew T. Solomon

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